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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION


  ALEKSEJ GUBAREV,
  XBT HOLDING S.A., and
  WEBZILLA, INC.                                                         Case No.
    Plaintiffs,
                                                                    0:17-cv-60426-UU
  v.

  BUZZFEED, INC. and
  BEN SMITH
    Defendants.


       PLAINTIFFS’ MOTION FOR PERMISSION TO BRING AND USE ELECTRONIC
          EQUIPMENT AT THE DECEMBER 21, 2018 PRETRIAL CONFERENCE

          Plaintiffs Aleksej Gubarev, XBT Holding S.A., and Webzilla, Inc. respectfully request,

  pursuant to Administrative Order 2018-79, that the court enter an order authorizing Plaintiffs’

  counsel of record, including counsel appearing pro hac vice, to bring in the courthouse and the

  courtroom their laptop computers, cellular telephones, iPads, hard drives and associated

  accessories during the December 21, 2018 pretrial conference. In support of the instant Motion,

  Plaintiffs state as follows:

          1. During the pretrial conference, Plaintiffs’ counsel may have to argue numerous issues

  raised in the parties’ respective motions for summary judgment, Daubert motions, motions in

  limine and any other motion currently pending before this Court.

          2. For purposes of document management, the Plaintiffs’ counsel need access to

  electronic copies of said motions, as well as court filings and trial exhibits.

          3. Defendants’ counsel do not object to the relief requested. A proposed Order is attached

  as Exhibit A.



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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         Undersigned counsel has conferred with counsel for Defendants regarding the relief

  requested herein and counsel for Defendants has advised that there is no objection to this Motion

  being granted.

          Wherefore, Plaintiffs respectfully request permission to bring the above-stated electronic

  equipment into the courthouse and the courtroom.

  Dated: December 18, 2018

                                                      Respectfully submitted by,

                                                      /s/ Evan Fray-Witzer
                                                      Evan Fray-Witzer (pro hac vice)
                                                      CIAMPA FRAY-WITZER, LLP
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                                                      Boston, Massachusetts 02116
                                                      Telephone: 617-426-0000
                                                      Facsimile: 617-423-4855
                                                      Evan@CFWLegal.com

                                                      /s/ Valentin Gurvits
                                                      Valentin D. Gurvits (pro hac vice)
                                                      Matthew Shayefar (Fla. Bar No. 0126465)
                                                      BOSTON LAW GROUP, PC
                                                      825 Beacon Street, Suite 20
                                                      Newton Centre, Massachusetts 02459
                                                      Telephone: 617-928-1804
                                                      Facsimile: 617-928-1802
                                                      vgurvits@bostonlawgroup.com
                                                      matt@bostonlawgroup.com

                                                      /s/ Brady J. Cobb
                                                      Brady J. Cobb (Fla. Bar No. 031018)
                                                      COBB EDDY, PLLC
                                                      642 Northeast Third Avenue
                                                      Fort Lauderdale, Florida 33304
                                                      Telephone: 954-527-4111
                                                      Facsimile: 954-900-5507
                                                      bcobb@cobbeddy.com

                                                      Counsel for Plaintiffs

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                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the CM/ECF

  filing system, on this 18th day of December, 2018, on all counsel or parties of record on the service list.


                                                             COBB EDDY, PLLC
                                                             Attorneys for Plaintiffs
                                                             642 Northeast Third Avenue
                                                             Fort Lauderdale, Florida 33304
                                                             Telephone (954) 527-4111
                                                             Facsimile (954) 900-5507

                                                             By: /s/ BRADY J. COBB_______
                                                             BRADY J. COBB, ESQUIRE
                                                             Florida Bar No. 031018
                                                             bcobb@cobbeddy.com




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                   EXHIBIT A




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


  ALEKSEJ GUBAREV,
  XBT HOLDINGS S.A., and
  WEBZILLA, INC.                                                       Case No.
    Plaintiffs,
                                                                 0:17-cv-60426-UU
  v.

  BUZZFEED, INC. and
  BEN SMITH
    Defendants.


       ORDER GRANTING PLAINTIFFS’ MOTION FOR PERMISSION TO BRING AND
         USE ELECTRONIC EQUIPMENT AT THE DECEMBER 21, 2018 PRETRIAL
                               CONFERENCE


          THIS CAUSE is before the Court upon Plaintiffs’ Motion for Permission to Bring

  Electronic Equipment at the December 21, 2018 Pretrial Conference. D.E. 381.

          It is ORDERED and ADJUDGED:

          1. Plaintiffs’ motion is granted.

          2. Plaintiffs’ counsel of record, including counsel appearing pro hac vice, shall be

  allowed to bring into the courthouse and the courtroom their laptop computers, cellular

  telephones, iPads, hard drives and the accessories to these electronic devices.

          DONE AND ORDERED at Miami, Florida, this ___ day of December, 2018.


                                                       ____________________________________
                                                       URSULA UNGARO
                                                       UNITED STATES DISTRICT JUDGE




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  Copies furnished to:

  John J. O’Sullivan, United States Magistrate Judge
  Counsel of Record




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